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                          UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF PENNSYLVANIA


IN RE: NATIONAL FOOTBALL
LEAGUE PLAYERS’ CONCUSSION                     No. 2:12-md-02323-AB
INJURY LITIGATION                              MDL No. 2323


Kevin Turner and Shawn Wooden,                 Civil Action No. 2:14-cv-00029-AB
on behalf of themselves and
others similarly situated,

          Plaintiffs,

              v.

National Football League and
NFL Properties, LLC,
successor-in-interest to
NFL Properties, Inc.,

          Defendants.


THIS DOCUMENT RELATES TO:
ALL ACTIONS


                                   PROPOSED ORDER

       AND NOW, this _______ day of _________________________, 2014, after

consideration of the Motion for Leave to File a Reply Memorandum of Sean Morey, Alan

Faneca, Ben Hamilton, Robert Royal, Roderick Cartwright, Jeff Rohrer, and Sean Considine, and

any responses thereto, it is hereby ORDERED that the Motion is GRANTED. The proposed

reply memorandum attached to the Motion as Exhibit A is considered filed as of

__________________________, 2014.

                                                  BY THE COURT:



                                                  __________________________________
                                                  ANITA B. BRODY
                                                  United States District Judge
